                               Case 5:22-cv-00244-SVK Document 23 Filed 03/29/22 Page 1 of 2



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                     13                            UNITED STATES DISTRICT COURT
                     14                       NORTHERN DISTRICT OF CALIFORNIA
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                     16   PAZ CARINO,                             Case No. 5:22-cv-00244-SVK
                     17                    Plaintiff,             [PROPOSED] ORDER APPROVING
                                                                  JOINT STIPULATION TO DISMISS
                     18   v.                                      ENTIRE ACTION WITH
                                                                  PREJUDICE
                     19   LINCARE HOLDINGS INC., a
                          Delaware corporation; LINCARE
                     20   INC., a Delaware corporation; and
                          DOES 1 through 30, inclusive,
                     21
                                           Defendants.
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F ORD & H ARRISON                                                               [PROPOSED] ORDER APPROVING JOINT
       LLP
                                                                              STIPULATION TO DISMISS ENTIRE ACTION
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                                                                                                   WITH PREJUDICE
                            Case 5:22-cv-00244-SVK Document 23 Filed 03/29/22 Page 2 of 2



                      1         Having read and considered the document entitled “Joint Stipulation For
                      2   Dismissal of Entire Action With Prejudice,” filed jointly by Plaintiff Paz Carino
                      3   and Defendant Lincare Inc. (hereinafter collectively referred to as “the Parties”),
                      4   and for good cause shown, IT IS SO ORDERED THAT:
                      5         1.    The entire action is dismissed with prejudice.
                      6         2.    The Parties are to bear their own attorney’s fees and costs.
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                                  March 29
                          Dated: ________________, 2022
                                                                        Magistrate Judge Susan van Keulen
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F ORD & H ARRISON                                                                  [PROPOSED] ORDER APPROVING JOINT
       LLP
 ATTO RNEY S AT LAW
                                                                  -2-            STIPULATION TO DISMISS ENTIRE ACTION
    LOS A NG EL ES
                                                                                                      WITH PREJUDICE
